 

Case 4:19-cr-01543-RCC-LAB Document 15 Filed 07/ 9/19 “Page 1 of 1
RECEIVED _— coy

 

 

UNITED STATES DISTRICT COURT | JUL 9 2019

 

 

 

 

DISTRICT OF ARIZONA
CLERK U S DISTRICT COURT
DISTRICT OF ARIZONA
BY. _-—__ DEPUTY
United States of America Case Number: CR-19-01543-001-TUC-RCC (LAB)
vy " CONSENT OF DEFENDANT
Silvio Bertilio Cruz- Velasquez AND ORDER OF REFERRAL -
ORDER OF REFERRAL

Defendant Silvio Bertilio Cruz-Velasquez having requested permission to enter a plea of guilty,
and having consented to go forward with that plea of guilty before a United States Magistrate Judge,
the Court refers the matter to Magistrate Judge Leslie A. Bowman to administer the allocution pursuant
to Rule 11, Fed. R. Crim. P., and to make findings as follows:

(A) whether Defendant (1) is competent to enter into a plea; (2) knowingly and voluntarily
wishes to enter a plea to the charge(s); (3) understands the charge(s); (4) whether there exists a factual
basis for the charges; and a recommendation as follows:

(B) whether the plea of guilty should be accepted by the District Court.

SO ORDERED:

 

 

Honirable Raner C. Collins
‘United States District Judge
CONSENT OF DEFENDANT

After full consultation with counsel, I voluntarily consent to go forward with my plea of guilty
before the United States Magistrate Judge.

_ I consent to the above referral

 

Cve Velus quet

Defendant .
Yl Z Phat

Counsel for Defendant ~ R Ale. A Min dnt f Assistant U.S. Attorney

Dated this 9th day of July, 2019.
